           Case 1:17-sw-00422-JFA Document 1 Filed 07/18/17 Page 1 of 17 PageID# 1
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      United States District Court
                                                                                                              Er-'
                                                                                                                                      lir,


                                                                       for the
                                                           Eastern District of Virginia                                  4)L I 8 2017        i?!
              In the Matter of the Se^ch of                                                                     Ci
         (Briefly describe the property to be searched
          or identifythe person by name and address)                               Case No. 1:17-SW-422
        Nine United States Postal Service Parcels.
          See Attachment A for tracking numbers.


                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of peijuiy that I have reason to believe that on the following person or property (identify the person ordescribe the
property, to be searchedqadgive.itsjocatiqn):          ,
  See Attacnmenf A (PaTcels to be Searched).


located in the              Eastern              District of                Virginia               , there is now concealed (identify the
person or describe theproperty to be seized)'.
 See Attachment B (Items to be Seized).


          The basis for the search imder Fed. R. Crim. P. 41(c) is (check oneor more):
                isTevidence ofacrime;
                isTcontraband, fruits ofcrime, or other items illegally possessed;
                aTproperty designed for use, intended for use, or used in committing acrime;
                • a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

              Code Section                                                    Offense Description
        21 use § 843(b)                           Use of a Communication Facility to Transport Controlled Substances; and
        21 use § 841(a)(1)                        Possession with Intent to Distribute a Controlled Substance.


          The application is based on these facts:
        See attached affidavit.



          •    Continued on the attached sheet.
          • Delayednotice of                     days (give exact ending date if more than 30 days: _                      ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



  AUSA Rosanne C, Haney/SAUSA Sean Wright
                                                                                                   ^li^ant's signature
                                                                                 Stephen F. Tracy, United States Postal Inspector
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                           .isf.
Date:          July 18. 2017                                                John F. Anderson
                                                                            United Slates Ma0lstj!^4ii|a       \ttire


City and state: Alexandria. Virginia                                             Hon. John F. Anderson. U.S. Magistrate Judge
                                                                                               Printed name and title
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                                       ATTACHMENT A


                     DESCRIPTION OF PARCELS TO BE SEARCHED


Subject   Express (E), Priority (P),    From:                      To:
Parcel    First Class (F), or           Name and Address          Name and Address
          Registered (R)
          TrackingID Number

1         (P) 9505500034907194000012    Nick Jergens              RANdolphJeRGeNS
                                        1376HiT,DAAve             13657 LYNN ST
                                        GlendAleCA 91205          WOODBRTOGE VA
                                                                  22191-2123

2         (E)EL799474697US              Martrell Green            Steven Williams
                                        1111 WilshireBLVRD        124 Ellsworth St
                                        #307                      Alexandria, VA 22314
                                        Los Angeles, CA 90017

3         (E) EL739148602US             James Harris              William Harris
                                        1155 Mendolesa Drive      9804 Grant Ave
                                        Vista CA, 92084           Manassas, VA 20110

4-        (P) 9505511802967193157604    Lola Chan                 Jada Whitacre
                                        4300SoquelDr#69           257PughLh.
                                        Soquel,CA 95073           GORE, VA 22637

5         (?) 9505514350377193058734    JESSICA LDSr              PARKER LDSr
                                        628 N IST" ST             8911 PRINCETON PARK
                                        DDCON, CA 95620           DR.
                                                                  MANASSAS, VA 20110


6         (?) 9505510243817193078125    Sean Moore                D. Moore
                                        20727 State Hwy 36        412 Mellon St SE#3
                                        CarlottaCA 95528          Washington DC 20032



7         (?) 23010640000041527421      YUTAMAKANO                Ingrid Le Blanc
                                        2899 Escala Cir           1728 n Queens Lane Apt
                                        San Diego CA 92108        179
                                                                  Arlington, Virginia 22201

8         (?) 9505526550367193084704    Manizheh zabihpour        Roya zabihpour
                                        13409 NW sherry st #107   3404 beverly dr
                                        Portland OR 97229         Annadale va 22003
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9        (P) 9505513813127193108321   Chien Min Wang           Sean Chia Shiuan Wang
                                      3249 S, Edenglen Ave.,   1331   street SE, Apt #232
                                      Aptl                     Washington, DC 20003
                                      Ontario, CA 91761
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                                    ATTACHMENT B


                     DESCRIPTION OF ITEMS TO BE SEIZED



1. Narcotics or othercontrolled substances, as well as contraband relatedto drug trafficking,

    e.g., packaging materials;

2. United States currency or other financial instruments;

3. Customer records;

4. Business ledgers, lists, and notations;

5. Prescription records;

6. Records of a financial nature; and

7. Other evidence of transactions in relation to drug trafficking.
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                          IN THE UNITED STATES DISTRICT COURT
                                                                                                        fg
                          FOR THE EASTERN DISTRICT OF VIRGINIA                  P
                                                                                -r"
                                    Alexandria Division                         r     i
                                                                                             JUL I 8 2017    lII
IN THE MATTER OF A SEARCH OF
                                                                                    CL*:' • . !
                                                                                          A!/ •
9 UNITED STATES POSTAL SERVICE
PARCEL PACKAGES;                                                Case Number: l:17-SW-422
SEE ATTACHMENT A FOR TRACKING
NUMBERS.



                        AFFIDAVIT IN SUPPORT OF APPLICATION
            FOR A SEARCH WARRANT FOR NINE U.S. MAIL PARCELS

                                   I.      SUBJECT PARCELS


         This is an affidavit submitted in support of an Application for a Search Warrant for nine

subject U.S. Mail Parcels, hereinafter "the Subject Parcels." The Subject Parcels are currently

located at the Dulles Processing and Distribution Center in Dulles, Virginia. The Dulles

Processing and Distribution Center is located within the Eastern District of Virginia. The Subject

Parcels are specifically identified as follows:^



Subject    Express (E), Priority (P),       From:                        To:
Parcel     First Class (F), or              Name and Address             Name and Address
           Registered (R)
           Tracking ID Number

1          (P) 9505500034907194000012       Nick Jergens                 RANdolphJeRGeNS
                                            1376HiLDAAve                 13657 LYNN ST
                                            GlendAleCA 91205             WOODBRTDGE VA
                                                                         22191-2123




         ^For all of the tables in this affidavit regarding the Subject Parcels, I have listedthe
sender and recipient information as it appears on the Subject Parcels. In other words, the
capitalization, punctuation, and spelling of addresses in the table are the same as that which I
observed on the Subject Parcels.
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2         (E) EL799474697US               Martrell Green              Steven Williams
                                          1111 WilshireBLVRD          124 Ellsworth St
                                          #307                        Alexandria, VA 22314
                                          Los Angeles, CA 90017

3         (E) EL739148602US               James Harris                William Harris
                                          1155 Mendolesa Drive        9804 Grant Ave
                                          Vista CA, 92084             Manassas, VA 20110

4         (P) 9505511802967193157604      Lola Chan                   Jada Whitacre
                                          4300 SoquelDr#69            257PughLn.
                                          Soquel, CA 95073            GORE, VA 22637

5         (P) 9505514350377193058734      JESSICA LIN                 PARKER LIN
                                          628 N       ST              8911 PRINCETON PARK
                                          DDCON, CA 95620             DR.
                                                                      MANASSAS, VA 20110

6         (P) 9505510243817193078125      Sean Moore                  D. Moore
                                          20727 State Hwy 36          412 Mellon StSE#3
                                          Carlotta CA 95528           Washington DC 20032

7         (P) 23010640000041527421        YUTAMAKANO                  Ingrid Le Blanc
                                          2899 Escala Cir             1728 n Queens Lane Apt
                                          San Diego CA 92108          179
                                                                      Arlington, Virginia 22201

8         (P) 9505526550367193084704      Manizheh zabihpour          Roya zabihpour
                                          13409 NW sherry st #107     3404 beverly dr
                                          Portland OR 97229           Annadale va 22003


9         (P) 9505513813127193108321      Chien Min Wang              Sean Chia Shiuan Wang
                                          3249 S. Edenglen Ave.,      1331 4^'' street SE, Apt #232
                                          Apt 1                       Washington, DC 20003
                                          Ontario, CA 91761




                                        II.       AFFIANT


       I, Stephen F. Tracy, being duly sworn, hereby depose and state:

       I am a Postal Inspector with the United States Postal Inspection Service ("USPIS") and

have been so employed since August 2002. Upon entering USPIS, I completed twelve weeks of

training in Potomac, Maryland. The training covered various aspects of federal law enforcement

including the investigation of narcotics-related offenses. I have received additional training

specifically in conducting narcotics investigations and participated in investigations involving
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possession with intent to distribute and distribution of controlled substances. I have participated

in multiple interdictions, controlled deliveries, seizures, and search warrants, which have resulted

in criminal arrests and prosecutions.

        The facts and information contained in this affidavit are based on my personal knowledge

as well as that of the other agents involved in this investigation. All observations that were not

made personally by me were related to me by the persons who made the observations. Sources

of information used routinely in this process include verifying zip codes through a public

database maintained by the U.S. Postal Service (USPS.com) and checking associations between

names and addresses in a law enforcement database {CLEAR). This affidavit contains only that

information necessary to establish probable cause in support of an application for a search

warrant authorizing search of the Subject Parcels. This affidavit is not intended to include each

and every fact and matter observed by or made known to agents of the government.

       Based upon my training and experience, I know that there are suspicious characteristics

common to many packages that contain narcotics, controlled substances or narcotics proceeds

(currency), and personal and financial documents related to such proceeds and narcotics. These

factors, detailed more fully below, are used as a pointer system to identify packages requiring

further investigation.

       A totality of factors or characteristics creates reasonable suspicion prior to presenting a

parcel to a canine for examination. The Subject Parcels exhibited several of these factors and

were also alerted to by a trained canine. While there are many characteristics that experienced

Postal Inspectors look for, the most common factors or suspicious characteristics routinely

observed in the course of screening packages are as follows:
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        1.      Contrasts observed between Legitimate Business Parcels and Drug Parcels:

        As alternatives to First-Class Mail, which does not provide a customer with the ability to

track the progress of a parcel through the system, the U.S. Postal Service offers Priority Mail

Express and Priority Mail.

                a.      Priority Mail Express: Priority Mail Express is guaranteed to be delivered

on a set date and time, usually overnight (the deadline is determined at the time of mailing). The

customer receives a receipt with this guaranteed information and can opt for a signature

requirement when the parcel is delivered. Customers can track the parcel online by its distinct

Priority Mail Express tracking number. The weight of the package and the distance traveled are

the two main factors in setting the price. Priority Mail Express costs more than Priority Mail.

                b.      Priority Mail: Priority Mail has a delivery service standard of two to four

business days, but is not guaranteed. Priority Mail is a less expensive alternative to Priority Mail

Express, but still provides the ability to track a parcel.

        Businesses using Priority Mail Express typically have a business or corporate account

visible on the mailing label, which covers the cost of the mailing, in contrast to the drug

distributor who will pay at the counter with cash or a credit card. Business Priority Mail Express

parcels typically weigh no more than eight ounces, and business Priority Mail parcels typically

weigh no more than two pounds. Drug packages typically exceed these weights; in my

experience, it is fairly easy to separate out smaller parcels, which constitute seventy to eighty

percent of all Priority Mail Express and Priority Mail parcels, from other parcels. Address labels

on business parcels are typically typed, and address labels on drug packages are typically

handwritten. Typically, drug traffickers using Priority Mail Express will opt out of the signature

requirement.
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        2.      Invalid Sender/Return Address: When drugs are shipped through the mails, the

senders generally do not want them back. To distance themselves from parcels containing drugs,

the return addresses and the names of senders are often fictitious or false. A fictitious or false

address can be anything from an incorrect zip code to a non-existent house number or street. The

name of the sender is also typically invalid: I have seen packages sent by persons with names of

celebrities, cartoon characters, or fictional persona, but more often a search ofthe CLEAR

database refiects that there is no association between the name of the sender and the address

provided.

        3.      Invalid Recipient/Address: It may appear counter-productive to put the wrong

receiving address on a package, but often the named recipient is not associated with the address.

This provides plausible deniability to anyone receiving the package as to their knowledge of its

contents. Sometimes drug packages are addressed to vacant properties with the expectation that

the postal carrier will just leave it at the address. The intended recipient will then retrieve it from

that location and hope to remain anonymous.

       4.      Destination State: If other criteria are present, I know from experience and

training that a domestic package being addressed to California, for example, can indicate that a

parcel contains proceeds from the sale of illegal narcotics.

       5.      State of Origin: If other criteria are present, I know from experience and training

that domestic packages sent from California and Oregon can indicate that a parcel contains

controlled substances.


       6.      Additional Factors: Additional factors seen less frequently, but nevertheless

noteworthy, include:

               a.        Smell: The odors of cocaine, marijuana, and methamphetamine are

distinct and, through experience, Postal Inspectors are familiar with these odors. On occasion, a
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parcel will emit an odor that is easily recognized without the assistance of a canine. Other smells

that suggest the contents are narcoticsare from masking agents. Common masking agents used

in an attempt to thwart law enforcement and canines typically include dryer sheets, coffee,

mustard, and any other substance that releases a strong smell.

               b.        Packaging: Heavily taped parcels are another factor that will suggest a

drug parcel. I have also observed excessive glue on package flaps.

       It is my experience that when these factors are observed, the alert of a trained canine on

the package will follow. As a result, these factors become a reliable way to profile the parcels

being shipped every day.

                 III.     STATEMENT OF FACTS AND CIRCUMSTANCES

       The following factors or suspicious characteristics are present in the Subject Parcels,

which are identified numerically consistent with Attachment A, in the following table.^

                                           Subject Parcel 1
Priority Express/Priority/Registered/Class            Priority
                                                      17.5" X 8.5" X 5.75"
Weight of Parcel                                      2 lbs., 3.0 ozs.

From Name/Address Associated                          No, invalid name and address

To Name/Address Associated                            No, name not associated with address

Soxirce Area                                          Yes - California

Canine Alert                                          Yes - Ferro^

Other Suspicious Characteristics                      Handwritten label, heavily taped, sender
                                                      zipcode different than origin zipcode.


       ^Forthe table in this subpart of theaffidavit, the row labeled "Source Area" indicates
whether the parcel originated or entered into the mail stream from a state of origin that, if other
criteria are present, I know from experience and training can indicate that a parcel contains
controlled substances.
       ^"Ferro" waslast certified in April of 2017 to alerton the odors of marijuana, hash,
cocaine, crack cocaine, heroin HCL, black tar heroin, methamphetamine, and ecstasy and is
trained on a monthly basis to ensiu'e Ferro's accuracy. U.S. Customs and Border Protection
Officer Robert Stone is Ferro's handler.
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                                        Subject P.arcel2
Priority Express/Priority/Registered/Class          Express
                                                    14" X 14"xl4"
Weight of Parcel                                    9 lbs., 9.0 ozs.

From Name/Address Associated                        No, name not associated with address

To Name/Address Associated                          Yes, name is associated with address

Source Area                                         Yes - California

Canine Alert                                        Yes - Max"^

Other Suspicious Characteristics                    Handwritten label, heavily taped, sender
                                                    zipcode different than origin zipcode.


Priority Express/Priority/Registered/r' Class       Express
                                                    12" X 12" X 8.5"
Weight of Parcel                                    4 lbs., 14 ozs.

From Name/Address Associated                        No, name not associated with address
To Name/Address Associated                          Yes, name is associated with address

Source Area                                         Yes - California

Canine Alert                                        Yes - Max

Other Suspicious Characteristics                    Handwritten label, heavily taped
                                        Subject P.arigel 4
Priority Express/Priority/Registered/P* Class       Priority
                                                    16" X 16"xl6"
Weight of Parcel                                    7 lbs., 10.4 ozs.

From Name/Address Associated                        No, name not associated with address

To Name/Address Associated                          Yes, name is associated with address

Source Area                                         Yes - California

Canine Alert                                        Yes-Max

Other Suspicious Characteristics                    Handwritten label, heavily taped
                                        Subject Parcel 5



         "Max" was last certified in July of 2017 to alert on the odors of marijuana, hash,
cocaine, crack cocaine, heroin HCL, black tar heroin, methamphetamine, and ecstasy and is
trained on a monthly basis to ensure Max's accuracy. Washington, D,C., Metropolitan Police
Department Officer Vincent Witkowski is Max's handler.
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Priority Express/Priority/Registered/1®^ Class      Priority
                                                    16" X 16"xl5"
Weight of Parcel                                    12 lbs., 14.2 ozs.

From Name/Address Associated                        No, name not associated with address

To Name/Address Associated                          No, name not associated with address
Source Area                                         Yes - California

Canine Alert                                        Yes - Max

Other Suspicious Characteristics                    Handwritten label, heavily taped


Priority Express/Priority/Registered/r* Class       Priority
                                                    18"x 18"x24"
Weight of Parcel                                    16 lbs., 2,0 ozs.

From Name/Address Associated                        No, name not associated with address

To Name/Address Associated                          No, name not associated with address
Source Area                                         Yes - California

Canine Alert                                        Yes - Teo^

Other Suspicious Characteristics                    Handwritten label, sender zipcode different
                                                    than origin zipcode.


Priority Express/Priority/Registered/P* Class       Priority
                                                    23 3/4" X 16" X 7 1/2"
Weight of Parcel                                    5 lbs., 13.0 ozs.

From Name/Address Associated                        No, name not associated with address

To Name/Address Associated                          Yes, name is associated with address

Source Area                                         Yes - California

Canine Alert                                        Yes - Teo

Other Suspicious Characteristics                    Handwritten label, heavily taped
                                         Subject i^arpel 8
Priority Express/Priority/Registered/1®' Class      Priority
                                                    16 1/4" X 12 1/4" X 6"


       ^"Teo"was lastcertified in July of 2017 to alert on the odors of marijuana, hash,
cocaine, crack cocaine, heroin HCL, black tar heroin, methamphetamine, and ecstasy and is
trained on a monthly basis to ensure Max's accuracy. Washington, D.C., Metropolitan Police
Department Officer Steve Roselle is Teo's handler.
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Weight of Parcel                                   16 lbs., 3.6 ozs.

From Name/Address Associated                       Yes, name is associated with address

To Name/Address Associated                         No, name not associated with address

Source Area                                        Yes - Oregon

Canine Alert                                       Yes - Teo

Other Suspicious Characteristics                   Handwritten label

                                        Subjecj:B|irceI9
Priority Express/Priority/Registered/l®' Class     Priority
                                                   12 1/4" X 12 1/4" x 6"
Weight of Parcel                                   11 lbs., 12.4 ozs.

From Name/Address Associated                       Yes, name is associated with address

To Name/Address Associated                         Yes, name is associated with address

Source Area                                        Yes - California

Canine Alert                                       Yes - Teo

Other Suspicious Characteristics                   Handwritten label, heavily taped



       Standard protocols for canine detection were followed. Specifically, the Subject Parcels

were placed in the work area among other boxes at the USPS, Dulles Processing & Distribution

Center facility, and Metro Air Services, USPS Terminal Handling Supplier facility located in

Dulles, Virginia. At that time, the law enforcement handler and his narcotic-detecting canine

were brought in to search the area. The handler observed the canine and then informed Postal

Inspectors that the dog alerted on the Subject Parcels, which were hidden among other boxes.
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                                     IV.     CONCLUSION


        I submit that, based upon the above indicators exhibited by the Subject Parcels, my

training and experience and the alert of a trained canine on the packages, there is probable cause

to believe that the above-described Subject Parcels contain narcotics or controlled substances

and/or materials relating to the distribution of controlled substances through the United States

Mail.




                                              Steph^r^^r^y
                                              United States ^s      nspector
Subscribed and sworn to before me
on the 18^*^ day of July 2017.


             ./S/.
John F. Anderson


United States Magistrate Judge
Alexandria, Virginia




                                                10
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                                       ATTACHMENT A


                    DESCRIPTION OF PARCELS TO BE SEARCHED


Subject   Express (E), Priority (P),    From:                     To:
Parcel    First Class (F), or           Name and Address          Name and Address
          Registered (R)
          Tracking ID Number

1         (P) 9505500034907194000012    Nick Jergens              RANdolphJeRGeNS
                                        1376HiLDAAve              13657 LYNN ST
                                        GlendAleCA 91205          WOODBRTDGEVA
                                                                  22191-2123

2         (E) EL799474697US             Martrell Green            Steven Williams
                                        nil WilshireBLVRD         124 Ellsworth St
                                        #307                      Alexandria, VA 22314
                                        Los Angeles, CA 90017

3         (E)EL739148602US              James Harris              William Harris
                                        1155 Mendolesa Drive      9804 Grant Ave
                                        Vista CA, 92084           Manassas, VA 20110

4.        (?) 9505511802967193157604    Lola Chan                 Jada Whitacre
                                        4300 Soquel Dr #69        257PughLn.
                                        Soquel,CA 95073           GORE, VA 22637

5         (P) 9505514350377193058734    JESSICA LIN               PARKER LIN
                                        628Nls^ST                 8911 PRINCETON PARK
                                        DDCON, CA 95620           DR.
                                                                  MANASSAS, VA 20110


6         (?) 9505510243817193078125    Sean Moore                D. Moore
                                        20727 State Hwy 36        412 Mellon St SE #3
                                        Carlotta CA 95528         Washington DC 20032



7         (P) 23010640000041527421      YUTAMAKANO                Ingrid Le Blanc
                                        2899 Escala Cir           1728 n Queens Lane Apt
                                        San Diego CA 92108        179
                                                                  Arlington, Virginia 22201


8         (P) 9505526550367193084704    Manizheh zabihpour        Roya zabihpour
                                        13409 NW sherry St #107   3404 beverly dr
                                        Portland OR 97229         Annadale va 22003
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9         (P) 9505513813127193108321   Chien Min Wang           Sean Chia Shiuan Wang
                                       3249 S. Edenglen Ave.,   1331 4^ street SE, Apt #232
                                       Apt 1                    Washington, DC 20003
                                       Ontario, CA 91761
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                                    ATTACHMENT B


                      DESCRIPTION OF ITEMS TO BE SEIZED



 1. Narcotics or other controlled substances, as well as contraband related to drug trafficking,

    e.^., packaging materials;

 2. United States currency or other financial instruments;

 3. Customer records;

 4. Business ledgers, lists, and notations;

 5. Prescription records;

 6. Records of a financial nature; and

 7. Other evidence oftransactions in relation to drug trafficking.
